 Fill in this information to identify the case:

 Debtor 1              Craig Deimler

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:Middle
                                        __________District      Pennsylvania
                                                            of __________
                                                   District of

 Case number           20-00841


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor:          M&T Bank                                                 Court claim no. (if known):       21

 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                        7586                          Must be at least 21 days after date       9/8/2022
                                                                                     of this notice


                                                                                     New total payment:                        $ 827.51
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      ❑
      X    No
      ❑    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why:


                   Current escrow payment: $                                       New escrow payment:         $


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ❑
      X    No
      ❑    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:


                   Current interest rate:                         %                New interest rate:                             %

                   Current principal and interest payment:                      New principal and interest payment:


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ❑    No
      ❑
      X    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change:   Application of the periodic rate
                   Current mortgage payment: $    783.19                           New mortgage payment:       $ 827.51

Official Form 410S1                                          Notice of Mortgage Payment Change                                                page 1
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Debtor 1
                  Craig Deimler                                                                Case number (if known)   20-00841
                  First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     ❑
     X     I am the creditor.

     ❑     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



  /s/ Sarah Sepulveda Rios
     Signature
                                                                                               Date    8/15/2022



                     Sarah Sepulveda Rios                                                              Business Banking & Consumer Support Specialist
 Print:                                                                                        Title
                     First Name                      Middle Name        Last Name



 Company             M&T Bank


                     475 Crosspoint Pkwy.
 Address
                     Number                 Street

                     Getzville, NY 14068
                     City                                               State       ZIP Code



 Contact phone       800-837-7694                                                              Email   ssepulvedarios@mtb.com




      Official Form 410S1
      Case 1:20-bk-00841-HWV
      Change
                                                              Doc Notice
                                                                   page 2
                                                                          of Mortgage Payment
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2022 I have served a copy of this Notice of
       Mortgage Payment Change and all attachments, relating to claim # 21 , in
       Chapter 13 case# 20-00841 in the Middle District of Pennsylvania, for debtor(s)
       Craig Deimler , to the following:




By US Mail, postage pre paid:

Debtor(s):

Craig Deimler
3205 Elmwood Dr
Harrisburg, PA 17110

BY CM/ECF

Debtor’s Attorney:

Jack N Zaharopoulos

Trustee:

John Hyams




                                                                 /s/ Sarah Sepulveda Rios
                                  Business Banking & Consumer Support Specialist, M&T Bank
                                                                  475 Crosspoint Parkway
                                                                       Getzville, NY 14068
                                                                             800-837-7694




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                                                                                                   STATEMENT PERIOD                ACCOUNT NUMBER
          E-N                                                                                      07/15/22 08/14/22

                                                                                           Home Equity Line of Credit Account Summary
                                                                                                        Billing Date                           08/14/22
                                                                                                        Current Due Date                       09/08/22
                                                                        375                             Days in Billing Period                       31
                                                                                                        Amount Billed This Statement           $ 827.51
                        CRAIG B DEIMLER
                                                                                                        Over Credit Limit Amount                 $ 0.00
                        3205 ELMWOOD DR
                        HARRISBURG PA 17110                                                             Past Due Amount                     $ 13,100.50
                                                                                                        Total Payment Due                   $ 13,928.01
                                                                                                        Draw Period Expiration Date            01/10/29
                                                                                                        Credit Limit                        $ 70,500.00
                                                                                                        Available Credit                         $ 0.00
                                                                                                        Finance Charge YTD                   $ 5,060.00
                                                                                                       ANNUAL PERCENTAGE RATE                 9.2132%

                  HOME EQUITY LINE OF CREDIT FINANCE CHARGE AND BALANCE SUMMARY

                                       RATE 1
                                        BASE                        TOTAL
Previous Balance (07/14/22)             $ 73,505.57                 $ 73,505.57
+Advances & Debits                           $ 0.00                      $ 0.00
- Payments & Credits                       $ 500.00                    $ 500.00
+ FINANCE CHARGE                           $ 534.24                    $ 534.24
+Life Insurance Charge                       $ 0.00                      $ 0.00
+Late Charges                                $ 0.00                      $ 0.00
+Other Charges                               $ 0.00                      $ 0.00
New Balance                             $ 73,539.81                 $ 73,539.81

Periodic Rate                         0.0247671%
Corresponding ANNUAL                     9.0400% (** )
PERCENTAGE RATE
Average Daily Balance                   $ 69,582.98
FINANCE CHARGE                             $ 534.24
Due to Application of Periodic Rate
                                           Please See Reverse Side for Explanation of Footnotes                                                  HESTM1




                                                                                                      PAYMENT DUE BY:                      09/08/22
                                                                                                      TOTAL AMOUNT DUE:                 $ 13,928.01
STATEMENT PERIOD
07/15/22  08/14/22

ACCOUNT NUMBER



  CRAIG B DEIMLER
  3205 ELMWOOD DR                                                                         TOTAL AMOUNT ENCLOSED IS $_____________
  HARRISBURG PA 17110

                                                                                                  Please make checks payable to:

                                                                                                  M&T BANK
   Please return this stub with your                                                              P.O. BOX 62146
   payment. Thank you.                                                                            BALTIMORE, MD 21264-2146




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Average Daily Balance.       If you have a home equity Line of Credit account, the "average daily balance" of your account (including
current transactions) can be used to figure the finance charge. To get the "average daily balance" we take the beginning balance of
your account each day, add any new advances, and subtract any payments or credits, unpaid finance charges, other charges, and
credit insurance premiums. This gives us the daily balance. Then, we add up all the daily balances for the billing cycle and divide the
total by the number of days in the billing cycle. This gives us the "average daily balance." If the periodic rate shown on the front of
this statement is expressed as a daily periodic rate, the finance charge can be determined by multiplying the average daily balance by
the number of days in the billing cycle, and applying the daily periodic rate to that amount. If a monthly periodic rate is shown, the
finance charge can be determined by multiplying the average daily balance by the monthly periodic rate.

If you have an M&T CHOICEquity Line of Credit account or if one or more Tiers are in effect, the "average daily balance"
(including current transactions) for each part of your account can be used to figure the finance charge due to the application of the
periodic rate for that part of the account. The average daily balance for each part of the account is determined in the same way that
it is for the home equity Line of Credit accounts. If the periodic rate shown on the front is a daily periodic rate, the average daily
balance for each part of the account can then be multiplied by the number of days in the billing cycle, and the daily periodic rate for
each part of the account applied to that amount to determine the finance charge due to the application of the periodic rate for that
part. If the periodic rate is expressed as a monthly periodic rate, the average daily balance for each part of the account can be
multiplied by the monthly periodic rate for that part to determine the finance charge due to the application of the periodic rate for
that part. In either case (using a daily periodic rate or a monthly periodic rate ), once the finance charges for each part of the
account are determined in this fashion, then they can be added together to determine the finance charge due to the application of the
periodic rate for the entire account.

The Finance Charge begins to accrue on the day each loan is posted to this Account. There is no time during which credit is
extended that you do not incur a Finance Charge.


A minus sign (-) indicates a credit or credit balance.

M&T Bank retains a security interest in your real property.

Footnotes: (as applicable)
(** ) This periodic rate and APR may vary.




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                                  Primary Account Holder Name:
                                  Craig B Deimler

                           Account Number:                     Statement Period:
                                                               07/15/22   08/14/22




                                     ACCOUNT ACTIVITY
                                                                             ADVANCES/   PAYMENTS/       DAILY
DATE      DESCRIPTION                                                          DEBITS     CREDITS       BALANCE
08/05     Payment                                                                           $ 500.00     $ 73,005.57




                             See Reverse Side of Page 1 for Explanation of Footnotes



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                                                        Primary Account Holder Name:
                                                        Craig B Deimler

                                               Account Number:                Statement Period:
                                                                              07/15/22   08/14/22




IF YOU HAVE ANY QUESTIONS CONCERNING YOUR ACCOUNT, PLEASE CALL HOME EQUITY CUSTOMER
SERVICE AT 1-800-724-6444.
Any payment we receive for application to amounts owing under the account need not be posted to the account or considered to have been
made until the fifth day after we receive it unless it is (1) made in United States funds, in cash delivered in person or by a check or money
order payable to our order, (2) accompanied by a payment stub for the account and (3) received by us at our address indicated on the payment
stub by 1:00 P.M. on any day Monday through Friday that is not a legal holiday.




                                                     BILLING RIGHTS SUMMARY

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR BILL

If you think your bill is wrong, or if you need more information about a transaction on your bill, write us on a separate sheet at M&T BANK,
P.O. BOX 767, BUFFALO, NY 14240, Attention: HOME EQUITY SERVICING DEPARTMENT, as soon as possible. We must hear from you no later
than 60 days after we sent you the first bill on which the error or problem appeared. You can telephone us, but doing so will not preserve your
rights.

In your letter, give us the following information:

* Your name and account number.

* The dollar amount of the suspected error.

* Describe the error and explain, if you can, why you believe there is an error. If you need more information, describe the item you are
  unsure about.

You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your bill that
are not in question. While we are investigating your question, we cannot report you as delinquent or take any action to collect the
amount in question.




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